                                                                                                                                 FILED
                                                                                                                     DALLAS COUNTY
                                                                                                                  11/7/2016 7:05:33 PM
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1 SOS-E-SERVE                                                                                                        DISTRICT CLERK


                                             DC-16-14430
                                  CAUSE NO. DC-16-14430                                                     Freeney Anita
                                                                                                            Freeney Anita
                                  CAUSE NO. ______________________

     R&R SULEIMAN, LLC,                               § IN THE DISTRICT COURT
                                                      §
                                                      §
               Plaintiff,                             §
                                                      §
                                                      §
                                                      §
     v.
     v.                                               §  B-44TH
                                                      § 13-44TH
                                                         _______ JUDICIAL
                                                                 JUDICIAL DISTRICT
                                                      §
                                                      §
     MID-CONTINENT CASUALTY                           §
                                                      §
     COMPANY
     COMPANY                                          §
                                                      §
                                                      §
                                                      §
               Defendant,
               Defendant,                             § DALLAS
                                                      §  DALLASCOUNTY,
                                                                  COUNTY,TEXAS
                                                                          TEXAS

                                  PLAINTIFF’S ORIGINAL
                                  PLAINTIFF'S ORIGINAL PETITION
                                                       PETITION

     TO THE
     TO THE HONORABLE
            HONORABLE JUDGE
                      JUDGE OF
                            OF SAID
                               SAID COURT:
                                    COURT:

               COMES NOW
               COMES     R&R Suleiman,
                     NOW R&R Suleiman, LLC
                                       LLC (“Plaintiff”), Plaintiff in
                                           ("Plaintiff'), Plaintiff in the
                                                                       the above-styled
                                                                           above-styled action,
                                                                                        action, and
                                                                                                and

     files this its
     files this its Petition
                    Petition complaining
                             complaining Mid-Continent
                                         Mid-Continent Casualty
                                                       Casualty Company
                                                                Company (“Defendant”).
                                                                        ("Defendant"). For
                                                                                       For cause
                                                                                           cause of
                                                                                                 of

     action, Plaintiff
     action, Plaintiff would
                       would respectfully
                             respectfully show
                                          show the
                                               the Court
                                                   Court as
                                                         as follows:
                                                            follows:

                                              I. PARTIES
                                              I.   PARTIES

               1.
               1.     Plaintiff R&R
                      Plaintiff R&R Suleiman,
                                    Suleiman, LLC
                                              LLC is
                                                  is aa domestic
                                                        domestic for-profit
                                                                 for-profit corporation
                                                                            corporation organized
                                                                                        organized under
                                                                                                  under

     the laws
     the laws of
              of the
                 the State
                     State of
                           of Texas.
                              Texas. Plaintiff
                                     Plaintiff may
                                               may be
                                                   be contacted
                                                       contacted through
                                                                  through its
                                                                          its undersigned
                                                                              undersigned attorney
                                                                                          attorney of
                                                                                                   of

     record.
     record.

               2.
               2.     Defendant Mid-Continent
                      Defendant Mid-Continent Casualty
                                              Casualty Company
                                                       Company aka
                                                               aka Mid-Continent
                                                                   Mid-Continent Group
                                                                                 Group is
                                                                                       is aa wholly
                                                                                             wholly

     owned subsidiary
     owned subsidiary of
                      of aa foreign
                            foreign for-profit
                                    for-profit corporation,
                                               corporation, Great
                                                            Great American
                                                                  American Insurance
                                                                           Insurance Company.
                                                                                     Company. Mid-
                                                                                              Mid-

     Continent Group,
     Continent Group, and
                      and may
                          may be
                              be served
                                 served via
                                        via the
                                            the Texas
                                                Texas Secretary
                                                      Secretary of
                                                                of State,
                                                                   State, Service
                                                                          Service of
                                                                                  of Process,
                                                                                     Process, Secretary
                                                                                              Secretary

     of State,
     of State, James
               James E.
                     E. Rudder
                        Rudder Building,
                               Building, 1019
                                         1019 Brazos,
                                              Brazos, Room
                                                      Room 105,
                                                           105, Austin,
                                                                Austin, Texas
                                                                        Texas 78701with
                                                                              78701with aa copy
                                                                                           copy via
                                                                                                via

     certified mail
     certified mail to Jim Davis,
                    to Jim Davis, Chief
                                  Chief Operating
                                        Operating Officer,
                                                  Officer, 1437
                                                           1437 South
                                                                South Boulder
                                                                      Boulder Ave
                                                                              Ave W
                                                                                  W ## 200,
                                                                                       200, Tulsa,
                                                                                            Tulsa,

     OK 74119
     OK 74119

                                          II.   JURISDICTION
                                          II. JURISDICTION

               3.
               3.     This Court has
                      This Court has subject-matter
                                     subject-matter jurisdiction
                                                    jurisdiction over
                                                                 over the
                                                                      the lawsuit
                                                                          lawsuit because
                                                                                  because the amount in
                                                                                          the amount in

     controversy exceeds
     controversy exceeds the
                         the minimum
                             minimum jurisdictional
                                     jurisdictional requirements.
                                                    requirements.
                                                                       Plaintiff’s Original
                                                                       Plaintiff's Original Petition
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                                                                                                                   8
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       4.
       4.      This Court has
               This Court has territorial
                              territorial jurisdiction
                                          jurisdiction over
                                                       over Defendant
                                                            Defendant because
                                                                      because itit has
                                                                                   has availed
                                                                                       availed itself
                                                                                               itself

of the
of the jurisdiction
       jurisdiction through
                    through its
                            its business
                                business transactions
                                         transactions in
                                                      in Texas,
                                                         Texas, and
                                                                and the acts and
                                                                    the acts and occurrences
                                                                                 occurrences giving
                                                                                             giving

rise to
rise to this
        this lawsuit
             lawsuit occurred
                     occurred in
                              in Dallas
                                 Dallas County,
                                        County, Texas.
                                                Texas.

                                III.   BACKGROUNDFACTS
                                III. BACKGROUND   FACTS

       5.
       5.      Plaintiff is
               Plaintiff    the record
                         is the record owner
                                       owner of
                                             of the
                                                the Chevron
                                                    Chevron Express
                                                            Express located
                                                                    located at
                                                                            at 8000
                                                                               8000 South
                                                                                    South Loop
                                                                                          Loop

12, Dallas,
12, Dallas, Texas
            Texas 75217
                  75217 (the
                         (the "Plaintiff's
                               “Plaintiff’s Property").
                                             Property”). There
                                                         There are
                                                                are underground
                                                                     underground storage
                                                                                 storage tanks
                                                                                          tanks

responsible for
responsible for storing
                storing the
                        the fuel
                            fuel sold
                                 sold at
                                      at the
                                         the Property.
                                             Property.

       6.
       6.      On or
               On or about
                     about November
                           November of 2011, the
                                    of 2011, the underground
                                                 underground storage
                                                             storage tanks
                                                                     tanks at
                                                                           at the Plaintiff’s
                                                                              the Plaintiff's

Property began
Property began leaking
               leaking into
                       into surrounding
                            surrounding soil.
                                        soil. At
                                              At that
                                                 that time,
                                                      time, Plaintiff
                                                            Plaintiff undertook
                                                                      undertook proper
                                                                                proper remediation
                                                                                       remediation

of the
of the spill
       spill via
             via HKC
                 HKC &
                     & Associates,
                       Associates, Inc.
                                   Inc. in
                                        in order
                                           order to
                                                 to remove
                                                    remove the
                                                           the spilled
                                                               spilled fuel.
                                                                       fuel.

       7.
       7.      Such
               Such remediation
                    remediation continued
                                continued through
                                          through the
                                                  the beginning
                                                      beginning of
                                                                of 2015.
                                                                   2015. On
                                                                         On or about January
                                                                            or about January

29, 2015,
29, 2015, Defendant
          Defendant Mid-Continent
                    Mid-Continent Casualty
                                  Casualty Company—Plaintiff’s insurance carrier
                                           Company—Plaintiff's insurance carrier which was
                                                                                 which was

providing coverage
providing coverage for the spill
                   for the spill clean-up—gave
                                 clean-up—gave Plaintiff
                                               Plaintiff notice
                                                         notice that
                                                                that Mid-Continent
                                                                     Mid-Continent would
                                                                                   would no
                                                                                         no

longer be providing
longer be providing coverage
                    coverage for the spill.
                             for the spill. Mid-Continent
                                            Mid-Continent stated
                                                          stated that its obligations
                                                                 that its obligations had
                                                                                      had been
                                                                                          been

fulfilled
fulfilled under
          under its policy. Mid-Continent
                its policy. Mid-Continent went
                                          went on
                                               on to say that
                                                  to say  that product
                                                                product being
                                                                        being recovered
                                                                               recovered from
                                                                                         from

monitoring wells
monitoring wells at the Property
                 at the Property contained
                                 contained lead
                                           lead additives
                                                additives that
                                                           that were
                                                                were not contained in
                                                                     not contained    the
                                                                                   in the

underground storage
underground storage tank
                     tank system
                          system at
                                 at the
                                    the Plaintiff’s Property. Under
                                        Plaintiff's Property. Under the
                                                                    the U.S. Clean Air
                                                                        U.S. Clean Air Act
                                                                                       Act (42
                                                                                           (42

U.S.C. §§ 7401
U.S.C.    7401 et seq.), lead
                         lead additives
                              additives to motor fuel
                                        to motor fuel have
                                                      have been
                                                           been banned
                                                                banned since
                                                                       since January
                                                                             January 1,
                                                                                     1, 1996.
                                                                                        1996.

Therefore,
Therefore, the
            the fuel being cleaned
                fuel being cleaned up from underneath
                                   up from underneath the Plaintiff’s Property
                                                      the Plaintiff's Property was not from
                                                                               was not from

Plaintiff’s underground
Plaintiff's underground storage
                        storage tanks.
                                tanks.

       8.
       8.      After further
               After further investigation
                             investigation by
                                            by Plaintiff,
                                               Plaintiff, itit was
                                                               was discovered
                                                                   discovered that
                                                                              that aa previous
                                                                                       previous

underground storage
underground storage tank
                    tank leak
                         leak had
                              had occurred
                                  occurred at
                                           at the
                                              the Texaco
                                                  Texaco property
                                                         property prior
                                                                  prior to
                                                                        to the
                                                                           the federal
                                                                               federal ban
                                                                                       ban on
                                                                                           on lead
                                                                                              lead

additives to
additives to gasoline
             gasoline going
                      going into
                            into effect.
                                 effect. Such
                                         Such spill
                                              spill occurred
                                                    occurred sometime
                                                             sometime before
                                                                      before May
                                                                             May 22, 1995, when
                                                                                 22, 1995, when




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                                                                 Plaintiff's Original Petition
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Plaintiff Chevron
Plaintiff Chevron was
                  was record
                      record owner
                             owner of
                                   of the Texaco property
                                      the Texaco property and
                                                          and before
                                                              before Plaintiff’s storage tanks
                                                                     Plaintiff's storage tanks

were installed.
were installed.

        9.
        9.         Despite the
                   Despite     expert report
                           the expert report indicating
                                             indicating that Plaintiff is
                                                        that Plaintiff    not responsible
                                                                       is not  responsible for the
                                                                                           for the

remaining fuel
remaining  fuel which
                which isis now still below
                           now still below the
                                           the surface
                                               surface of
                                                       of the
                                                           the Plaintiff's
                                                                Plaintiff’s Property,
                                                                             Property, the
                                                                                       the Texas
                                                                                           Texas

Commission on
Commission on Environmental
              Environmental Quality
                            Quality continues
                                    continues to
                                              to designate
                                                 designate Plaintiff
                                                           Plaintiff as
                                                                     as the
                                                                        the party
                                                                            party responsible
                                                                                  responsible for
                                                                                              for

clean-up of
clean-up of the spill. Upon
            the spill. Uponinformation
                            information and
                                        and belief,
                                            belief, the
                                                     the fuel
                                                          fuel now
                                                               now remaining
                                                                    remaining underground
                                                                              underground at
                                                                                          at the
                                                                                             the

Property is
Property is fuel
            fuel spilled
                 spilled from
                         from the
                              the underground
                                  underground storage tanks located
                                              storage tanks         at the
                                                            located at the Texaco
                                                                           Texaco Property
                                                                                  Property prior
                                                                                           prior to
                                                                                                 to

when Plaintiff's
when Plaintiff’s underground
                 underground storage
                             storage tanks
                                     tanks were
                                           were installed.
                                                installed.

        10.
        10.        Plaintiff now
                   Plaintiff now sues
                                 sues for
                                      for breach
                                          breach of
                                                 of contract,
                                                    contract, bad
                                                              bad faith,
                                                                  faith, and
                                                                         and damages
                                                                             damages incurred
                                                                                     incurred and
                                                                                              and that
                                                                                                  that

continue to
continue to be
            be incurred from the
               incurred from the ongoing remediation work
                                 ongoing remediation work which
                                                          which it
                                                                it now
                                                                   now must
                                                                       must undertake
                                                                            undertake by
                                                                                      by order
                                                                                         order

of the
of the TCEQ.
       TCEQ. Furthermore,
             Furthermore, Plaintiff
                          Plaintiff now
                                    now sues
                                        sues for
                                             for Declaratory
                                                 Declaratory Judgment
                                                             Judgment and
                                                                      and damages
                                                                          damages and
                                                                                  and requests
                                                                                      requests

the Court
the Court rule
          rule on
               on the
                  the question
                      question of
                               of which
                                  which of
                                        of the
                                           the parties
                                               parties herein
                                                       herein is
                                                              is liable
                                                                 liable for
                                                                        for the
                                                                            the continued
                                                                                continued remediation
                                                                                          remediation

of the
of the underground
       underground fuel
                   fuel spill
                        spill at
                              at the
                                 the Plaintiff’s Property.
                                     Plaintiff's Property.

                                     IV.
                                     IV.    CAUSES OF
                                            CAUSES OF ACTION
                                                      ACTION

                             COUNT ONE:
                             COUNT ONE: BREACH
                                        BREACH OF
                                               OF CONTRACT
                                                  CONTRACT

        11.
        11.        Plaintiff and
                   Plaintiff     Defendant entered
                             and Defendant entered into
                                                   into aa contract
                                                           contract for
                                                                    for insurance
                                                                        insurance coverage
                                                                                  coverage in
                                                                                           in which
                                                                                              which

Defendant agreed
Defendant agreed to
                 to provide
                    provide coverage
                            coverage for
                                     for (a)
                                         (a) sums
                                             sums that
                                                  that an
                                                       an Insured
                                                          Insured is
                                                                  is legally
                                                                     legally obligated
                                                                             obligated to
                                                                                       to pay
                                                                                          pay as
                                                                                              as aa

result of
result of releases
          releases from
                   from storage
                        storage tank
                                tank systems;
                                     systems; (b)
                                              (b) clean-up
                                                  clean-up costs
                                                           costs by
                                                                 by an
                                                                    an insured
                                                                       insured for
                                                                               for environmental
                                                                                   environmental

damage that
damage that an
            an insured
               insured is legally obligated
                       is legally obligatedto
                                            to pay
                                               pay as
                                                   as aa result
                                                         result of
                                                                of releases;
                                                                   releases; and
                                                                             and (c)
                                                                                 (c) repair
                                                                                     repair or
                                                                                            or

replacement costs
replacement costs for
                  for storage
                      storage tank
                              tank systems
                                   systems and
                                           and property
                                               property damaged
                                                        damaged as
                                                                as aa result
                                                                      result of such repair
                                                                             of such repair or
                                                                                            or

replacement.
replacement.

        12.
        12.        Plaintiff fulfilled
                   Plaintiff fulfilled his
                                       his end
                                           end of
                                               of the
                                                  the bargain
                                                      bargain by
                                                              by payment
                                                                 payment of
                                                                         of his
                                                                            his premiums,
                                                                                premiums, and
                                                                                          and by
                                                                                              by timely
                                                                                                 timely

filing
filing aa claim.
          claim.




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                                                                    Plaintiff's Original Petition
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        13.
        13.     Defendant began
                Defendant began to
                                to fulfill
                                   fulfill its end of
                                           its end of the
                                                      the bargain
                                                          bargain when
                                                                  when itit commenced
                                                                             commenced clean
                                                                                       clean up
                                                                                             up

operations and
operations and made
               made payments
                    payments under
                             under the
                                   the policy.
                                       policy.

        14.
        14.     Defendant breached
                Defendant breached the
                                   the contract
                                       contract when
                                                when itit notified
                                                          notified Plaintiff
                                                                   Plaintiff of the termination
                                                                             of the termination of
                                                                                                of

payment.
payment.

        15.
        15.     Plaintiff has
                Plaintiff has incurred
                              incurred significant
                                       significant damages
                                                   damages as
                                                           as aaresult
                                                                 resultof
                                                                        ofDefendant’s
                                                                          Defendant's actions. It has
                                                                                      actions. It has

been forced
been forced to
            to sue
               sue the
                    the neighboring
                         neighboring property's
                                     property’s current
                                                current and former owners,
                                                        and former owners, in an attempt
                                                                           in an attempt to
                                                                                         to

determine liability
determine liability for the spill,
                    for the spill, and
                                   and to
                                       to force
                                          force aa clean
                                                   clean up
                                                         up of
                                                            of the
                                                               the ongoing
                                                                   ongoing damage
                                                                           damage to
                                                                                  to the
                                                                                     the property.
                                                                                         property.

        16.
        16.     There is no
                There is no way
                            way to
                                to determine
                                   determine whether
                                             whether the
                                                     the fuel
                                                         fuel remaining to be
                                                              remaining to be cleaned
                                                                              cleaned up
                                                                                      up is
                                                                                         is outside
                                                                                            outside

the scope
the scope of
          of the
             the insurance
                 insurance policy,
                           policy, until
                                   until the
                                         the clean-up
                                             clean-up is
                                                      is complete. Defendant should
                                                         complete. Defendant should have,
                                                                                    have, under
                                                                                          under

the policy,
the policy, continued
            continued to pay for
                      to pay for clean-up
                                 clean-up costs
                                          costs until
                                                until the
                                                      the remediation
                                                          remediation was complete, and
                                                                      was complete, and then,
                                                                                        then, if
                                                                                              if

necessary, subrogated
necessary, subrogated the
                      the claim.
                          claim.

                                   COUNT TWO: BAD FAITH

        17.
        17.     Plaintiff re-alleges
                Plaintiff re-alleges all
                                     all of the allegations
                                         of the allegations in
                                                            in the
                                                               the previous
                                                                   previous paragraphs,
                                                                            paragraphs, as
                                                                                        as though
                                                                                           though set
                                                                                                  set

forth
forth fully
      fully herein.
            herein.

        18.
        18.     It is well
                It is well established
                            established under
                                        under Texas
                                              Texas law
                                                    law that
                                                         that "accompanying
                                                               "accompanying every
                                                                             every contract
                                                                                   contract is
                                                                                            is aa

common law
common     duty to
       law duty to perform
                   perform with
                           with care,
                                care, skill,
                                      skill, reasonable
                                             reasonable expedience
                                                        expedience and
                                                                   and faithfulness
                                                                       faithfulness the thing
                                                                                    the thing

agreed to
agreed    be done,
       to be done, and
                   and aa negligent
                          negligent failure
                                    failure to
                                            to observe
                                               observe any
                                                       any of
                                                           of these
                                                              these conditions
                                                                    conditions is
                                                                               is aa tort
                                                                                     tort as
                                                                                          as well
                                                                                             well as
                                                                                                  as aa

breach of
breach of contract."
          contract." Montgomery Ward & Co. v. Scharrenbeck, 146
                                                            146 Tex.
                                                                Tex. 153,
                                                                     153, 157,
                                                                          157, 204
                                                                               204 S.W.
                                                                                   S.W. 2d
                                                                                        2d

508, 510 (1947)
508, 510 (1947) (emphasis
                (emphasis added).
                          added). The
                                  The same
                                      same duty of care
                                           duty of care and
                                                        and faithfulness
                                                             faithfulness that
                                                                          that arises
                                                                               arises under
                                                                                      under

common law
common     contracts applies
       law contracts applies equally
                             equally to
                                     to insurance
                                        insurance contracts.
                                                  contracts. Burroughs v. Bunch, 210
                                                                                 210 S.W.2d
                                                                                     S.W.2d

211, 214-15
211, 214-15 (Tex.Civ.
            (Tex.Civ. App.—El
                      App.—El Paso 1948, writ
                              Paso 1948, writ ref
                                               ref'd); American Standard
                                                   d); American Standard Life
                                                                         Life Ins.
                                                                              Ins. Co.
                                                                                   Co. v.

         337 S.W.2d
Redford, 337 S.W.2d 230,
                    230, 231
                         231 (Tex.Civ.App.—Austin
                             (Tex.Civ.App.—Austin 1960,
                                                  1960, writ
                                                        writ ref
                                                             ref'd n.r.e.).
                                                                 d n.r.e.).

        19.
        19.     Specifically,
                Specifically, this
                              this court
                                   court has
                                         has recognized
                                             recognized the
                                                        the duty
                                                            duty of
                                                                 of an
                                                                    an insurer
                                                                       insurer to
                                                                               to deal
                                                                                  deal fairly
                                                                                       fairly and in
                                                                                              and in

good faith
good faith with
           with its
                its insured
                    insured in
                            in the
                               the processing
                                   processing and
                                              and payment
                                                  payment of
                                                          of claims.
                                                             claims. Arnold v. National County

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Mutual Fire Ins. Co., 725
                      725 S.W.2d
                          S.W.2d 165,
                                 165, 167 (Tex.1987); English v. Fischer, 660
                                      167 (Tex.1987);                         S.W.2d 521,
                                                                          660 S.W.2d      524
                                                                                     521, 524

(Tex.1983) (Spears,
(Tex.1983) (Spears, J.,
                    J., concurring).
                        concurring).

        20.
        20.     In the insurance
                In the insurance context
                                 context aa special
                                            special relationship
                                                    relationship arises out of
                                                                 arises out of the
                                                                               the parties'
                                                                                   parties' unequal
                                                                                            unequal

bargaining power
bargaining power and the nature
                 and the nature of
                                of the
                                    the insurance
                                         insurance contracts
                                                    contracts which
                                                              which would
                                                                    would allow
                                                                           allow unscrupulous
                                                                                  unscrupulous

insurers to
insurers to take
            take advantage
                 advantage of
                           of their
                              their insured's
                                    insured's misfortunes
                                              misfortunes in
                                                          in bargaining
                                                             bargaining for
                                                                        for settlement
                                                                            settlement or
                                                                                       or resolution
                                                                                          resolution

of the
of the claims....Id.
       claims..../d.

        21.
        21.     The duty of
                The duty of good
                            good faith
                                 faith and
                                       and fair
                                           fair dealing
                                                dealing is
                                                        is thus
                                                           thus imposed
                                                                imposed on the insurer
                                                                        on the insurer because
                                                                                       because of
                                                                                               of

the disparity
the disparity of
              of bargaining
                 bargaining power
                            power and
                                  and the
                                      the exclusive
                                          exclusive control
                                                    control that
                                                            that the
                                                                 the insurer
                                                                     insurer exercises
                                                                             exercises over
                                                                                       over the
                                                                                            the

processing of
processing of claims.
              claims. Aranda v. Insurance Co. of North
                                                 North America, 748 S.W.2d
                                                       America, 748 S.W.2d 210,
                                                                           210, 212
                                                                                212 (Tex.
                                                                                    (Tex.

1988). An
1988).    insurer will
       An insurer will be liable if
                       be liable if the
                                    the insurer
                                        insurer knew
                                                knew or
                                                     or should
                                                        should have
                                                               have known
                                                                    known that
                                                                          that it
                                                                               it was
                                                                                  was reasonably
                                                                                      reasonably

clear that
clear that the
           the claim
               claim was
                     was covered.
                         covered. .. See
                                     See Aranda v. Insurance Co. of North America, 748
                                                                                   748 S.W.2d
                                                                                       S.W.2d

210, 213
210, 213 (Tex.
         (Tex. 1988).
               1988).

        22.
        22.     Plaintiff and
                Plaintiff     Defendant entered
                          and Defendant entered into
                                                into aa contract
                                                        contract for
                                                                 for insurance
                                                                     insurance coverage
                                                                               coverage in
                                                                                        in which
                                                                                           which

Defendant agreed
Defendant agreed to
                 to provide
                    provide coverage
                            coverage for
                                     for (a)
                                         (a) sums
                                             sums that
                                                  that an
                                                       an Insured
                                                          Insured is
                                                                  is legally
                                                                     legally obligated
                                                                             obligated to
                                                                                       to pay
                                                                                          pay as
                                                                                              as aa

result of
result of releases
          releases from
                   from storage
                        storage tank
                                tank systems;
                                     systems; (b)
                                              (b) clean-up
                                                  clean-up costs
                                                           costs by
                                                                 by an
                                                                    an insured
                                                                       insured for
                                                                               for environmental
                                                                                   environmental

damage that
damage that an
            an insured
               insured is legally obligated
                       is legally obligatedto
                                            to pay
                                               pay as
                                                   as aa result
                                                         result of
                                                                of releases;
                                                                   releases; and
                                                                             and (c)
                                                                                 (c) repair
                                                                                     repair or
                                                                                            or

replacement costs
replacement costs for
                  for storage
                      storage tank
                              tank systems
                                   systems and
                                           and property
                                               property damaged
                                                        damaged as
                                                                as aa result
                                                                      result of such repair
                                                                             of such repair or
                                                                                            or

replacement.
replacement.

        23.
        23.     Defendant breached
                Defendant breached its
                                   its duty
                                       duty of
                                            of good
                                               good faith
                                                    faith and
                                                          and fair
                                                              fair dealing
                                                                   dealing when
                                                                           when it
                                                                                it declined
                                                                                   declined to
                                                                                            to cover
                                                                                               cover

remediation costs
remediation  costs beginning
                   beginningininFebruary
                                February2015.  Plaintiff was
                                         2015. Plaintiff was unable
                                                             unable to
                                                                    to afford
                                                                       afford to
                                                                               to continue
                                                                                   continue

remediation without
remediation without insurance
                    insurance coverage,
                              coverage, and
                                        and incurred
                                            incurred significant
                                                     significant damage
                                                                 damage to its property.
                                                                        to its  property.

Defendant knew
Defendant knew or
               or should
                  should have
                         have known
                              known that
                                    that denying
                                         denying the
                                                 the claim
                                                     claim was
                                                           was in
                                                               in bad
                                                                  bad faith.
                                                                      faith.




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                            COUNT THREE: ATTORNEY’S
                                         ATTORNEY'S FEES

        24.
        24.     Plaintiff re-alleges
                Plaintiff re-alleges all
                                     all of the allegations
                                         of the allegations in
                                                            in the
                                                               the previous
                                                                   previous paragraphs,
                                                                            paragraphs, as
                                                                                        as though
                                                                                           though set
                                                                                                  set

forth
forth fully
      fully herein.
            herein.

        25.
        25.     Plaintiff is
                Plaintiff    entitled to
                          is entitled    recover their
                                      to recover       costs and
                                                 their costs and reasonable
                                                                 reasonable and
                                                                            and necessary
                                                                                necessary attorney’s
                                                                                          attorney's

fees
fees that are equitable
     that are equitable and
                        and just,
                            just, incurred
                                  incurred in
                                           in bringing
                                              bringing this
                                                       this action.
                                                            action. See Tex.
                                                                        Tex. Civ.
                                                                             Civ. Prac.
                                                                                  Prac. &
                                                                                        & Rem.
                                                                                          Rem. Code
                                                                                               Code

§§ 37.009;
   37.009; Tex.
           Tex. Health
                Health &
                       & Safety
                         Safety Code
                                Code §§ 361.344(a).
                                        361.344(a).

                                        V. DAMAGES
                                        V.   DAMAGES

        26
        26      Defendant’s activities,
                Defendant's activities, actions,
                                        actions, and/or
                                                 and/or inactions,
                                                        inactions, as
                                                                   as detailed
                                                                      detailed above,
                                                                               above, directly
                                                                                      directly and/or
                                                                                               and/or

proximately caused
proximately caused damages
                   damages to
                           to Plaintiff
                              Plaintiff and
                                        and adversely
                                            adversely affected
                                                      affected Plaintiff’s Property. Plaintiff
                                                               Plaintiff's Property. Plaintiff has
                                                                                               has

sustained temporary
sustained temporary and/or
                    and/or permanent
                           permanent damages,
                                     damages, which
                                              which include
                                                    include the
                                                            the following:
                                                                following:

       a.
       a.       Actual damages;
                Actual damages;

       b.
       b.       Economic
                Economic damages;
                         damages;

        c.
        c.      Special
                Special damages;
                        damages;

        d.
        d.      Consequential and/or
                Consequential and/or incidental
                                     incidental damages;
                                                damages;

        e.
        e.      Lost
                Lost market
                     market value
                            value damages
                                  damages for
                                          for land
                                              land and
                                                   and building;
                                                       building;

        f.
        f.      Cost of
                Cost of repair/remediation
                        repair/remediation damages;
                                           damages;

        g.
        g.      Loss of sale
                Loss of sale damages,
                             damages, lost
                                      lost benefits
                                           benefits of
                                                    of the
                                                       the contract
                                                           contract damages,
                                                                    damages, and or lost
                                                                             and or lost profits
                                                                                         profits
                damages;
                damages;

        h.
        h.      Loss
                Loss of
                     of use
                        use and
                            and enjoyment
                                enjoyment damages;
                                          damages;

        i.
        i.      Lost
                Lost rental
                     rental value
                            value damages;
                                  damages;

       j.
       j.       Unreasonable fear,
                Unreasonable   fear, apprehension,
                                     apprehension, offense,
                                                     offense, discomfort,
                                                              discomfort, annoyance,
                                                                          annoyance, loss
                                                                                     loss of
                                                                                          of peace
                                                                                             peace of
                                                                                                   of
                mind, emotional
                mind, emotional harm/distress,
                                  harm/distress, inconvenience,
                                                   inconvenience, and
                                                                    and deprivation
                                                                        deprivation of enjoyment of
                                                                                    of enjoyment   of
                property in
                property in the
                            the past,
                                past, present,
                                      present, and
                                               and future;
                                                    future;

        k.
        k.      Mental anguish;
                Mental anguish;

       1.l.     Exemplary
                Exemplary damages;
                          damages;

        n.
        n.      Abatement, Injunctive,
                Abatement, Injunctive, and/or
                                       and/or Equitable
                                              Equitable relief/damages;
                                                        relief/damages;
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       o.
       o.       Attorney’s Fees;
                Attorney's Fees;

       p.
       p.       Pre-judgment and
                Pre-judgment and post-judgment
                                 post judgment interest;
                                               interest;

       q.
       q.       Investigation
                Investigation Costs;
                              Costs;

       r.
       r.       Remediation Costs;
                Remediation Costs;

       s.
       s.       Court costs;
                Court costs; and
                             and

       t.
       t.       Unliquidated damages
                Unliquidated damages within
                                     within the
                                            the jurisdictional
                                                jurisdictional limits
                                                               limits of
                                                                      of this
                                                                         this court.
                                                                              court.

       27.
       27.      Furthermore, Plaintiff
                Furthermore, Plaintiff asserts
                                       asserts that
                                               that an award of
                                                    an award of reasonable
                                                                reasonable and
                                                                           and necessary
                                                                               necessary attorney
                                                                                         attorney

fees would be
fees would be equitable
              equitable and just and,
                        and just and, therefore,
                                      therefore, is
                                                 is authorized
                                                    authorized by law. Plaintiff
                                                               by law. Plaintiff now
                                                                                 now sues
                                                                                     sues the
                                                                                          the

Defendant for
Defendant for Plaintiff’s reasonable and
              Plaintiffs reasonable  and necessary
                                         necessary attorneys'
                                                   attorneys' fees
                                                              fees and
                                                                   and expenses
                                                                       expenses of
                                                                                of litigation
                                                                                   litigation for
                                                                                              for

this action
this action and
            and any
                any appeal
                    appeal to
                           to any
                              any appellate
                                  appellate court.
                                            court.

                                       VI. JURY DEMAND

       28.
       28.      Plaintiff demands
                Plaintiff demands aa jury
                                     jury trial
                                          trial and
                                                and tender
                                                    tender the
                                                           the appropriate
                                                               appropriate fee
                                                                           fee with
                                                                               with this
                                                                                    this petition.
                                                                                         petition.

                           PRAYER AND
                           PRAYER AND REQUEST
                                      REQUEST FOR
                                              FOR RELIEF
                                                  RELIEF

       WHEREFORE, PREMISES
       WHEREFORE, PREMISES CONSIDERED,
                           CONSIDERED, Plaintiff
                                       Plaintiff requests
                                                 requests that,
                                                          that, upon
                                                                upon final
                                                                     final trial
                                                                           trial or
                                                                                 or

other disposition
other disposition of this lawsuit,
                  of this lawsuit, Plaintiff
                                   Plaintiff has
                                             has and
                                                 and recovers
                                                     recovers judgment
                                                              judgment against
                                                                       against Defendants
                                                                               Defendants for the
                                                                                          for the

following:
following:

       (a) Actual
       (a) Actual damages
                  damages for
                          for diminution
                              diminution and/or complete loss
                                         and/or complete      of sale
                                                         loss of sale value,
                                                                      value, and
                                                                             and investigation
                                                                                 investigation

             and remediation
             and remediation costs;
                             costs;

       (b) Reasonable
       (b) Reasonable and
                      and necessary
                          necessary attorney’s fees;
                                    attorney's fees;

       (c) Pre-judgment
       (c) Pre-judgment and
                        and post-judgment interest as
                            post judgment interest as provided
                                                      provided by
                                                               by law;
                                                                  law;

       (d) Costs
       (d) Costs of
                 of court;
                    court; and
                           and

       (e) Such
       (e) Such other
                other and
                      and further
                          further relief,
                                  relief, at
                                          at law
                                             law of
                                                 of in
                                                    in equity,
                                                       equity, to
                                                               to which
                                                                  which Plaintiff
                                                                        Plaintiff is
                                                                                  is justly
                                                                                     justly entitled.
                                                                                            entitled.




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  Dated: November
  Dated: November 7,
                  7, 2016
                     2016

                                      Respectfully submitted,
                                      Respectfully submitted,



                                        /s/ Joyce Lindauer
                                      Joyce
                                      Joyce W.
                                             W. Lindauer
                                                 Lindauer
                                      State
                                      State Bar
                                             Bar No.
                                                 No. 21555700
                                                     21555700
                                      Joyce W.
                                      Joyce  W. Lindauer
                                                 Lindauer Attorney,
                                                           Attorney, PLLC
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                                                                             Exhibit B-8
